   Case: 1:19-cv-07705 Document #: 31 Filed: 05/18/20 Page 1 of 3 PageID #:177




                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

JAZMINE JUAREZ,                               )
                                              )
            Plaintiff,                        )
                                              )      Civil Action No. 19-cv-07705
            v.                                )
                                              )      Hon. Sara L. Ellis
EXPERIAN INFORMATION                          )
SOLUTIONS, INC. and EQUIFAX                   )
INFORMATION SERVICES, LLC,                    )      Magistrate Judge Sidney I. Schenkier
                                              )
                                              )
                                              )
                                              )
                    Defendants.               )

                                  Initial Status Report

  1. The Nature of the Case

        A. Attorneys of Record

            Plaintiff
            Celetha Chatman
            Michael Wood
            Community Lawyers, LLC.
            20 N. Clark Street, Suite 3100
            Chicago, IL 60602
            Ph: (312)757-1880
            Fx: (312)476-1362
            cchatman@communitylawyersgroup.com
            mwood@communitylawyersgroup.com

             Defendant Experian Information Solutions, Inc. (“Experian”)
             Jules H. Cantor
             JONES DAY
             77 West Wacker Drive, Suite 3500
             Chicago, IL 60601
             Telephone: (312) 269-1503
             Facsimile: (312) 782-8585
             jcantor@jonesday.com
   Case: 1:19-cv-07705 Document #: 31 Filed: 05/18/20 Page 2 of 3 PageID #:178




          B. Status of Discovery

                   1. No discovery has been served in this matter. Discovery is stayed in this

                        matter pending resolution of Experian’s Motion to Dismiss.

          C. Motions

                   1. Currently, Experian’s Motion to Dismiss is pending in this matter.

                        Plaintiff’s Response is due by June 12, 2020.

          D. Settlement Efforts

                   1. Plaintiff has made a demand to Defendant in this matter.

          E. Discovery Schedule

                   1. Currently, discovery is stayed in this matter pending Defendants’

                        Motion to Dismiss.

          F. Parties do not believe a telephone hearing with the judge is necessary and urgent.

  Dated: May 18, 2020



Counsel for Plaintiff                             Counsel for Defendant

/s Celetha Chatman                                 /s/ Jules Cantor
Celetha Chatman                                   Jules H. Cantor
Michael Wood                                      JONES DAY
Community Lawyers, LLC.                           77 West Wacker Drive, Suite 3500
20 N. Clark Street, Suite 3100                    Chicago, IL 60601
Chicago, IL 60602                                 Telephone: (312) 269-1503
Ph: (312)757-1880                                 Facsimile: (312) 782-8585
Fx: (312)476-1362                                 jcantor@jonesday.com
cchatman@communitylawyersgroup.com
       Case: 1:19-cv-07705 Document #: 31 Filed: 05/18/20 Page 3 of 3 PageID #:179




                                 CERTIFICATE OF SERVICE


         I, Celetha Chatman, an attorney, hereby certify that on May 18, 2020 I electronically filed

the foregoing document using the CM/ECF system, which will send notification of such filing to

all attorneys of record.


Dated: May 18, 2020                                                        Respectfully submitted,


                                                                          By: /s/ Celetha Chatman




   .
